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 EXHIBIT A
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                                  Timothy G. Blood Resume

        Timothy G. Blood is the managing partner of Blood Hurst & O’Reardon, LLP. His
practice has focused on complex litigation, including class action litigation, since the early
1990’s. Mr. Blood has tried class action cases and is highly regarded in the field of consumer
protection law.

        Mr. Blood has represented millions of retail consumers, holders of life, automobile and
homeowner insurance policies, data breach victims, mortgagors, credit card customers,
homeowners, and victims of race discrimination. He practices in both state and federal courts
throughout the country and has represented the interests of consumers formally or informally
before the Federal Trade Commission (“FTC”), the U.S. Consumer Products Safety
Administration, the California Department of Justice, the California Legislative Analyst’s Office
and the California Department of Insurance. He has worked with the FTC to obtain record setting
recoveries for consumers. In In re Skechers Toning Shoes Prods. Liab. Litig. (W.D. Ky.), Mr.
Blood’s work with the FTC resulted in the largest consumer recovery in a false advertising
action in FTC history. Other large and record-setting recoveries for consumers include a $3.4
billion settlement in 2017 for owners of certain Toyota vehicles and the largest false advertising
recovery in the history of the food industry.

       Since 2010, some of Mr. Blood’s court-appointed leadership positions include: court
appointed lead counsel in Warner v. Toyota Motor Sales (C.D. Cal); class counsel in In re
Johnson & Johnson Talcum Powder Prods. Mktg., Sales Practices, and Prods. Liab. Litig.
(D.N.J.); Liaison Counsel and Steering Committee member in In re Sony Gaming Networks and
Customer Data Sec. Breach Litig. (S.D. Cal.); Executive Committee member in In re Apple Inc.
Device Performance Litig., (N.D. Cal.); class counsel in Mullins v. Premier Nutrition Corp.
(N.D. Cal.); class counsel in Corvello v. Wells Fargo Bank, N.A. (N.D. Cal.); Executive
Committee member in Snyder v. the Regents of the University of California, JCCP No. 589243
(Cal. Super. Ct., Los Angeles Cnty.); class counsel in Rikos v. The Procter & Gamble Co., (S.D.
Ohio); class counsel in Godec v. Bayer Corp. (N.D. Ohio); class counsel in Johns v. Bayer Corp.
(S.D. Cal.); class counsel in In re Skechers Toning Shoes Prods. Liab. Litig. (W.D. Ky.); class
counsel in In re Reebok Easytone Litig. (D. Mass.); co-lead class counsel in In re Toyota Motor
Cases, (Toyota Unintended Acceleration Consolidated Litigation); co-lead class counsel in In re
Hydroxycut Mktg. and Sales Practices Litig. (S.D. Cal.); co-lead class counsel in Johnson v.
Gen. Mills, Inc. (S.D. Cal.); co-lead class counsel Gemeles v. The Dannon Co. (N.D. Ohio); and
co-lead class counsel Hartless v. Clorox Co. (S.D. Cal.).

        Mr. Blood has litigated many data breach privacy actions, including leading as Co-
Liaison Counsel and member of the Plaintiff’s Steering Committee In re Sony Gaming Networks
and Customer Data Security Breach Litigation, MDL 2258 (S.D. Cal.), one of the largest data
breach cases at the time. He currently represents plaintiffs in Patton, et al. v. Experian Data
Corp., et al., No. 15-cv-01871-JVS-PLA (C.D. Cal.), a multi-state data breach notification action
against a leading consumer credit reporting and data aggregation company, is co-counsel with
the San Diego City Attorney in People v. Experian Corp. et al. No. 37-2018-00011205-CU-BT-
CTL (Cal. Super. Ct., San Diego Cnty.), in a public enforcement action concerning Experian’s
failure to give notice to data breach victims, and is a member of the Plaintiff’s Executive
Committee in Snyder v. the Regents of the University of California, JCCP No. 589243 (Cal.
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Super. Ct., Los Angeles Cnty,), among others. Mr. Blood drafted and is working to pass
legislation to modernize data breach and related privacy laws in California. He is the primary
witness testifying before California Senate and Assembly committees in favor of the legislation
to modernize the California Customer Records Act, California’s primary data and records
privacy statute.

        Mr. Blood also has represented consumers in a variety of false advertising class actions,
including cases against General Mills and The Dannon Company filed in federal courts around
the country. The Dannon litigation resulted in the largest settlement in food industry history for
false advertising. He was lead trial counsel in Lebrilla v. Farmers Ins. Grp., Inc. (Cal. Super. Ct.,
Orange Cnty.) a multistate class action which settled on terms favorable to the class after a
month-long trial and just before closing arguments. He also has represented owners of motor
vehicles in product liability cases and consumer credit and mortgage borrowers against a number
of major lending institutions.

        Mr. Blood has been involved in many precedent-setting appellate decisions in areas
which include consumer and data breach law and class action procedure. These appellate
decisions include: Kuhns v. Scottrade, Inc., 868 F.3d 711 (8th Cir. 2017) (first 8th Circuit
decision finding Article III standing in a data breach case); Rikos v. The Procter & Gamble Co.,
799 F.3d 497 (6th Cir. 2015) (class certification) cert. denied, 2016 U.S. LEXIS 2244 (U.S. Mar.
28, 2016); Corvello v. Wells Fargo Bank, NA, 728 F.3d 878 (9th Cir. 2013) (consumer
protection); Fitzpatrick v. Gen. Mills, Inc., 635 F.3d 1279 (11th Cir. 2011) (class certification,
consumer law and false advertising); Westwood Apex v. Contreras, 644 F.3d 799 (9th Cir. 2011)
(CAFA jurisdiction); Kwikset Corp. v. Super. Ct. (Benson), 51 Cal. 4th 310 (2011) (consumer
law and false advertising); McKell v. Wash. Mut. Bank, Inc., 142 Cal. App. 4th 1457 (2006)
(consumer law); Santiago v. GMAC Mortg. Grp., Inc., 417 F.3d 384 (3d Cir. 2005) (consumer
law); Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070 (2004) (class action procedure); and
Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003) (consumer law).

        Mr. Blood is a frequent continuing legal education speaker on topics that include
complex litigation, class action procedure, data breach and privacy litigation, and false
advertising. Mr. Blood is a member of the Board of Governors of the Consumer Attorneys of
California and a member of its executive board from 2013 to 2016. He was the 2015 President of
the Consumer Attorneys of San Diego. He was awarded the 2018 Consumer Advocate of the
Year by Consumer Attorneys of San Diego. In 2007, he was a finalist for the Consumer
Attorneys of California Lawyer of the Year award for his trial work in a multistate class action
against Farmers Insurance. He has been named a “Super Lawyer” since 2006 and has achieved
an “AV” rating by Martindale Hubbell. In 2014, Mr. Blood was named a “Titan of the Plaintiff’s
Bar” by the national legal publication Law360. Mr. Blood was elected a Fellow of the American
Bar Foundation. Mr. Blood is also a founding member of the San Diego ESI Forum, a group of
judges and lawyers devoted to teaching legal professionals about electronic discovery.

       Before starting Blood Hurst & O’Reardon, Mr. Blood was a partner in Milberg Weiss
Bershad Hynes & Lerach, LLP and a founding partner in the firm now known as Robbins Geller
Rudman & Dowd, LLP. Mr. Blood received his Juris Doctor from George Washington
University in 1990.

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